              Case 2:20-cv-00593-BJR Document 23 Filed 05/07/20 Page 1 of 5




 1                                                     HONORABLE BARBARA J. ROTHSTEIN
 2

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 6
                                   UNITED STATES DISTRICT COURT
 7                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
 8
     IN RE SUBPOENA TO JIMMY NGUYEN
 9   _______________________________________
                                                         CASE NO. 20-cv-00593-BJR
10   IRA KLEIMAN, as the personal representative
     of the Estate of David Kleiman; and W&K Info        NOTICE OF FILING EXHIBIT A TO
11   Defense Research, LLC,                              DECLARATION OF NON-PARTY
                                                         JIMMY NGUYEN IN SUPPORT OF
12                  Plaintiffs,                          RESPONSE TO PLAINTIFF’S
                                                         SECOND MOTION TO COMPEL
13          v.
14   CRAIG WRIGHT,
15                  Defendant.
16          Non-Party Jimmy Nguyen gives notice of filing a copy of Exhibit A to his Declaration
17
     in Support of Response to Plaintiff's Second Motion to Compel [Dkt. No. 20] filed on May 6,
18
     2020. The Declaration was inadvertently filed without the exhibit attached.
19
            DATED this 7th day of May, 2020.
20
                                                   /s/ Scott B. Henrie
21                                                 Scott B. Henrie, WSBA #12673
                                                   WILLIAMS, KASTNER & GIBBS PLLC
22                                                 601 Union Street, Suite 4100
                                                   Seattle, WA 98101-2380
23                                                 Telephone: (206) 628-6600
                                                   E- mail: shenrie@williamskastner.com
24

25
     NOTICE OF FILING EXHIBIT A TO DECLARATION OF                    Williams, Kastner & Gibbs PLLC
     NON-PART Y JIMMY NGUYEN IN SUPPORT OF                           601 Union Street, Suite 4100
     RESPONSE TO PLAINTIFF’S SECOND MOTION TO COMPEL                 Seattle, Washington 98101-2380
                                                                     (206) 628-6600
     (USDC Case No. 20-cv-00593-BJR)
     Page 1 of 3
              Case 2:20-cv-00593-BJR Document 23 Filed 05/07/20 Page 2 of 5



                                                           and
 1
                                                   /s/ Spencer H. Silverglate
 2                                                 Spencer H. Silverglate, FL Bar No. 769223
                                                   Pro Hac Vice Application Pending
 3                                                 Trevor Gillum, FL Bar No. 1003867
                                                   Pro Hac Vice Application Pending
 4                                                 CLARKE SILVERGLATE, P.A.
                                                   799 Brickell Plaza, Suite 900
 5                                                 Miami, FL 33131-2805
                                                   Telephone: (305) 377-0700
 6                                                 Email: ssilverglate@cspalaw.com; and
                                                           tgillum@cspalaw.com
 7
                                                   Attorneys for James “Jimmy” Nguyen,
 8                                                 Subpoenaed Individual
 9

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25
     NOTICE OF FILING EXHIBIT A TO DECLARATION OF                    Williams, Kastner & Gibbs PLLC
     NON-PART Y JIMMY NGUYEN IN SUPPORT OF                           601 Union Street, Suite 4100
     RESPONSE TO PLAINTIFF’S SECOND MOTION TO COMPEL                 Seattle, Washington 98101-2380
                                                                     (206) 628-6600
     (USDC Case No. 20-cv-00593-BJR)
     Page 2 of 3
              Case 2:20-cv-00593-BJR Document 23 Filed 05/07/20 Page 3 of 5



                             CERTIFICATE OF FILING AND SERVICE
 1

 2          I hereby certify that on May 7, 2020, I electronically filed the foregoing with the Clerk

 3   of the Court using the CM/ECF system which will send notification of such filing to those

 4   registered with CM/ECF.

 5          Further, I hereby certify that on May 7, 2020, I provided the foregoing to following

 6   non-CM/ECF participants via Electronic Mail/Email:

 7                           Counsel for Plaintiffs:
 8
     Emanuel Jacobowitz, WSBA #39991                   Velvel (Devin) Freedman, FL Bar No. 99762
 9   CLOUTIER ARNOLD JACOBOWITZ, PLLC                  ROCHE CYRULNIK FREEDMAN LLP
     2701 1st Ave., Ste. #200                          200 S. Biscayne Blvd, Suite 5500
10   Seattle, WA 98121                                 Miami, FL 33131
     Telephone: 206-769-3759                           Telephone: (305) 357-3861
11   Email: manny@CAJlawyers.com                       Email: vel@rcfllp.com; and
12                                                            nbermond@rcfllp.com
     Kyle W. Roche and Joseph M. Delich
13   ROCHE CYRULNIK FREEDMAN LLP                       Andrew S. Brenner
     99 Park Avenue, Suite 1910                        BOIES SCHILLER FLEXNER LLP
14   New York, NY 10016                                100 SE 2nd Street, Suite 2800
     Email: kyle@rcfllp.com; and                       Miami, FL 33131
15   jdelich@rcfllp.com                                Email: abrenner@bsfllp.com
16
     Counsel for Defendant:
17   Amanda McGovern
     Email: amcgovern@riveromestre.com
18
            DATED this 7th day of May, 2020.
19

20                                               /s/ Scott B. Henrie
                                                 Scott B. Henrie, WSBA #12673
21                                               WILLIAMS, KASTNER & GIBBS PLLC
                                                 601 Union Street, Suite 4100
22                                               Seattle, WA 98101-2380
                                                 Telephone: (206) 628-6600 Fax: (206) 628-6611
23                                               Email: shenrie@williamskastner.com

24                                               Attorneys for James “Jimmy” Nguyen,
                                                 Subpoenaed Individual
25
     NOTICE OF FILING EXHIBIT A TO DECLARATION OF                      Williams, Kastner & Gibbs PLLC
     NON-PART Y JIMMY NGUYEN IN SUPPORT OF                             601 Union Street, Suite 4100
     RESPONSE TO PLAINTIFF’S SECOND MOTION TO COMPEL                   Seattle, Washington 98101-2380
                                                                       (206) 628-6600
     (USDC Case No. 20-cv-00593-BJR)
     Page 3 of 3
Case 2:20-cv-00593-BJR Document 23 Filed 05/07/20 Page 4 of 5




               Exhibit A




          Ex. A to 5/06/2020 Nguyen Declaration
         Case 2:20-cv-00593-BJR Document 23 Filed 05/07/20 Page 5 of 5



-------- Original Message --------
Subject: RE: Liaison/representative role on Kleiman lawsuit and other
legal matters
From: <c raig@rcjbr.org>
Date: Fri, March 27, 2020 8:16 am
To: <jimmy@newwindigital.com>

Yes Jimmy.

Please continue in this manner.

Craig Wright

From: jimmy@newwindigital.com <jimmy@newwindigital.com>
Sent: Friday, 27 March 2020 2:56 PM
To: craig@rcjbr.org
Subject: Liaison/representative role on Kleiman lawsuit and other legal
matters

Craig - this will confirm our telephone conversation of March 16, 2020. At your request, I
will continue acting as your liaison/representative with your lawyers in the Kleiman lawsuit,
in order to facilitate communications between you and the lawyers, as well as understanding
of Bitcoin topics.

You first asked me in February 2018 to act in this liaison capacity to help find litigation
counsel to represent you in the Kleiman lawsuit, and then after litigation counsel was
selected, to continue facilitating communications with your counsel. This was in addition to
the Common Interest Agreement we put in place between you and nChain at the beginning
of the case.

Given my recent departure from nChain's Strategic Advisory Board, I asked you to confirm
whether you still want me to act in this liaison/rep resentative capacity on legal matters for
you - including in the Kleiman case, and you said yes. I note that you also asked me in the
past to serve in a similar representative/liaison role for you in other legal matters you have
(in addition to the Kleiman lawsuit) and I will continue to do so.

As I've explained, I am no longer a practicing lawyer so I do not act as your counsel, but in
a liaison role to assist you with your lawyers.




                      Ex. A to 5/06/2020 Nguyen Declaration
